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                UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE



United States of America

          v.                             Criminal N o . 09-cr-140-01-JL

Alan Phillips



                                 O R D E R


     The assented to motion to reschedule jury trial (document n o .

78) filed by defendant is granted.             There will be no further

continuances.     It is the court’s practice to limit the second

continuance in a case, if granted, to 30 days.            Since this second

continuance is 60 days, there will be no further delays. Final

pretrial is rescheduled to January 2 1 , 2010 at 3 PM; Trial is

continued to the two-week period beginning February 2 , 2010, 9:30

AM. As all co-defendants have assented to this motion, their final

pretrial and trial dates are also continued.

     Defendant Phillips shall file a waiver of speedy trial

rights within 10 days.        The court finds that the ends of justice

served by granting a continuance outweigh the best interest of
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the public and the defendant in a speedy trial, 18 U.S.C. §

3161(h)(7)(B)(iv), for the reasons set forth in the motion.



      SO ORDERED.
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                                          Joseph N . Laplante
                                          United States District Judge

Date:    November 1 2 , 2009

cc:   Jeffrey Levin, Esq.
      Jennifer Davis, Esq.
      Adam Bernstein, Esq.
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      U.S. Marshal
      U.S. Probation
